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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:05-00242-02

BRANDON E. PISTORE


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On May 13, 2011, the United States of America appeared

by Meredith R. George, Assistant United States Attorney, and the

defendant, Brandon E. Pistore, appeared in person and by his

counsel, Lex A. Coleman, Assistant Federal Public Defender, for a

hearing on the petition on supervised release and amendment

thereto submitted by Supervising United States Probation Officer

Keith E. Zutaut, the defendant having commenced a five-year term

of supervised release in this action on January 30, 2009, as more

fully set forth in the Judgment Including Sentence Under the

Sentencing Reform Act entered by the court on June 22, 2006.


           The court heard the admissions of the defendant and the

representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant failed to submit monthly reports for August, September,

October and November 2009; (2) that the defendant failed to

maintain meaningful employment from the time of his release from

custody on January 30, 2009, until the filing of the petition on

December 29, 2009; (3) that the defendant used methamphetamine at

least from the first of August 2009 through December 22, 2009, as

evidenced by his admission to the probation officer on August 17,

2009, that he had been using methamphetamine for approximately

two weeks, a positive urine specimen provided by him on September

22, 2009, together further with his admission to the probation

officer on December 10, 2009, that he had used methamphetamine

that day and for approximately eight days prior to that date and

his admission to the probation officer on December 22, 2009, that

he had used methamphetamine as recently as December 20, 2009; and

(4) that the defendant failed to abide by the special condition

that he spend a period of six months at Dismas Charities inasmuch

as he was terminated from the program after approximately four

months for failing to abide by the rules and regulations but was

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permitted to re-enter the program on December 30, 2010, to

complete the original six-month term but was again terminated

from the program on March 4, 2011, for failing to abide by the

facility’s rules and regulations; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition on supervised release and amendment thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal Pro-

cedure, and finding, on the basis of the original offense, the

intervening conduct of the defendant and after considering the

factors set forth in 18 U.S.C. § 3553(a), that the defendant is

in need of correctional treatment which can most effectively be

provided if he is confined, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

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United States Bureau of Prisons for imprisonment for a period of

SIX (6) MONTHS, to be followed by a term of fifty-four (54)

months of supervised release upon the standard conditions of

supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime and

the special condition that he participate in the twelve-week

LEARN program in Beckley, West Virginia, which shall commence as

soon as he is released or as immediately thereafter as the

program is prepared to accept him.         The defendant shall follow

the rules and regulations of the program.


           The defendant was remanded to the custody of the United

States Marshal.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States

Marshal.


                                         DATED:       May 23, 2011


                                         John T. Copenhaver, Jr.
                                         United States District Judge



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